                Case 13-33424-JNP                                          Doc 1           Filed 10/25/13 Entered 10/25/13 14:58:01                                                                Desc Main
B1 (Official Form 1) (4/13)                                                                Document     Page 1 of 48
                                                                     United States Bankruptcy Court                                                                                           Voluntary Petition
                                                                            DISTRICT OF NEW JERSEY
  Name of Debtor             (if individual, enter Last, First, Middle):                                               Name of Joint Debtor                (Spouse)(Last, First, Middle):


  Logan, Robert J.                                                                                                     Logan, Janet E.
  All Other Names used by the Debtor in the last 8 years                                                               All Other Names used by the Joint Debtor in the last 8 years
  (include married, maiden, and trade names):                                                                          (include married, maiden, and trade names):
  aka Robert Joseph Logan, Sr.                                                                                         aka Janet Ellen Logan


 Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN                                      Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN
  (if more than one, state all):   XXXXXXX7254                                                                         (if more than one, state all):   XXXXXXX1217
  Street Address of Debtor                  (No. & Street, City, and State):                                           Street Address of Joint Debtor                    (No. & Street, City, and State):
  317 Cornell Road                                                                                                     317 Cornell Road
  Glasboro, NJ                                                                                                         Glasboro, NJ
                                                                                               ZIPCODE                                                                                                           ZIPCODE
                                                                                               08028                                                                                                             08028
  County of Residence or of the                                                                                        County of Residence or of the
  Principal Place of Business:                    Gloucester                                                           Principal Place of Business:                   Gloucester
  Mailing Address of Debtor                  (if different from street address):                                    Mailing Address of Joint Debtor                       (if different from street address):

  SAME                                                                                                             SAME
                                                                                               ZIPCODE                                                                                                           ZIPCODE


  Location of Principal Assets of Business Debtor                                                                                                                                                                 ZIPCODE
  (if different from street address above): NOT APPLICABLE


  Type of Debtor             (Form of organization)
                                                                              Nature of Business                                Chapter of Bankruptcy Code Under Which the Petition is Filed
                                                                           (Check one box.)                                                (Check one box)
                (Check one box.)                                                                                                Chapter 7                     Chapter 15 Petition for Recognition
                                                                           Health Care Business
      Individual (includes Joint Debtors)                                                                                       Chapter 9                      of a Foreign Main Proceeding
                                                                           Single Asset Real Estate as defined                  Chapter 11
      See Exhibit D on page 2 of this form.
                                                                           in 11 U.S.C. § 101 (51B)                             Chapter 12                    Chapter 15 Petition for Recognition
      Corporation (includes LLC and LLP)                                                                                                                      of a Foreign Nonmain Proceeding
                                                                           Railroad                                             Chapter 13
      Partnership
                                                                           Stockbroker                                                      Nature of Debts        (Check one box)
      Other (if debtor is not one of the above
                                                                           Commodity Broker                                   Debts are primarily consumer debts, defined                                   Debts are primarily
      entities, check this box and state type of
      entity below                                                         Clearing Bank                                      in 11 U.S.C. § 101(8) as "incurred by an                                      business debts.
                                                                                                                              individual primarily for a personal, family,
                                                                           Other
                                                                                                                              or household purpose"
             Chapter 15 Debtors                                              Tax-Exempt Entity                                                          Chapter 11 Debtors:
Country of debtor's center of main interests:                                  (Check box, if applicable.)
                                                                                                                       Check one box:
  _____________________________________                                    Debtor is a tax-exempt organization
                                                                                                                           Debtor is a small business as defined in 11 U.S.C. § 101(51D).
Each country in which a foreign proceeding by,                             under Title 26 of the United States
regarding, or against debtor is pending:                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                           Code (the Internal Revenue Code).
  _____________________________________
                                                                                                                       Check if:
                                   Filing Fee         (Check one box)
                                                                                                                         Debtor’s aggregate noncontingent liquidated debts (excluding debts
      Full Filing Fee attached                                                                                           owed to insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
     Filing Fee to be paid in installments (applicable to individuals only). Must                                          on 4/01/16 and every three years thereafter).
     attach signed application for the court’s consideration certifying that the debtor                            -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- --
     is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                                  Check all applicable boxes:
                                                                                                                          A plan is being filed with this petition
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
     attach signed application for the court's consideration. See Offi cial Form 3B.                                        Acceptances of the plan were solicited prepetition from one or more
                                                                                                                            classes of creditors, in accordance with 11 U.S.C. § 1126(b).

  Statistical/Administrative Information                                                                                                                                                    THIS SPACE IS FOR COURT USE ONLY

         Debtor estimates that funds will be available for distribution to unsecured creditors.
         Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
         distribution to unsecured creditors.
 Estimated Number of Creditors

  1-49               50-99             100-199            200-999             1,000-         5,001-          10,001-           25,001-           50,001-            Over
                                                                              5,000          10,000          25,000            50,000            100,000            100,000
 Estimated Assets
  $0 to              $50,001 to        $100,001 to        $500,001            $1,000,001     $10,000,001     $50,000,001       $100,000,001      $500,000,001       More than
  $50,000            $100,000          $500,000           to $1               to $10         to $50          to $100           to $500           to $1 billion      $1 billion
                                                          million             million        million         million           million
 Estimated Liabilities
  $0 to              $50,001 to        $100,001 to        $500,001            $1,000,001     $10,000,001     $50,000,001       $100,000,001      $500,000,001       More than
  $50,000            $100,000          $500,000           to $1               to $10         to $50          to $100           to $500           to $1 billion      $1 billion
                                                          million             million        million         million           million
             Case 13-33424-JNP                         Doc 1          Filed 10/25/13 Entered 10/25/13 14:58:01                                                   Desc Main
B1 (Official Form 1) (4/13)                                           Document     Page 2 of 48                                                                       FORM B1, Page   2
 Voluntary Petition                                                                          Name of Debtor(s):
                                                                                             Robert J. Logan and
  (This page must be completed and filed in every case)
                                                                                             Janet E. Logan
                         All Prior Bankruptcy Cases Filed Within Last 8 Years                       (If more than two, attach additional sheet)
 Location Where Filed:                                                               Case Number:                                                 Date Filed:
 Camden, NJ                                                                          10-12517/GMB                                                 1/29/2010
 Location Where Filed:                                                               Case Number:                                                 Date Filed:


  Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                  (If more than one, attach additional sheet)
 Name of Debtor:                                                                      Case Number:                                                Date Filed:
 NONE
 District:                                                                            Relationship:                                               Judge:


                                   Exhibit A                                                                                             Exhibit B
   (To be completed if debtor is required to file periodic reports                                                      (To be completed if debtor is an individual
   (e.g., forms 10K and 10Q) with the Securities and Exchange                                                           whose debts are primarily consumer debts)
   Commission pursuant to Section 13 or 15(d) of the Securities                        I, the attorney for the petitioner named in the foregoing petition, declare that I
   Exchange Act of 1934 and is requesting relief under Chapter 11)                     have informed the petitioner that [he or she] may proceed under chapter 7, 11, 12
                                                                                       or 13 of title 11, United States Code, and have explained the relief available under
                                                                                       each such chapter. I further certify that I have delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).
       Exhibit A is attached and made a part of this petition                          X     /s/ Richard S. Hoffman, Jr.                                                   10/25/2013
                                                                                              Signature of Attorney for Debtor(s)                                             Date


                                                                                        Exhibit C

 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
 or safety?
         Yes, and exhibit C is attached and made a part of this petition.
         No

                                                                                    Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

           Exhibit D, completed and signed by the debtor, is attached and made part of this petition.
 If this is a joint petition:
         Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                                    Information Regarding the Debtor - Venue
                                                                          (Check any applicable box)

     Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
     preceding the date of this petition or for a longer part of such 180 days than in any other District.
     There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
     Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
     principal place of business or assets in the United States but is a defendant in an action proceeding [in a federal or state court] in this District, or
     the interests of the parties will be served in regard to the relief sought in this District.

                                               Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                   (Check all applicable boxes.)
             Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)



                                                                                               (Name of landlord that obtained judgment)


                                                                                               (Address of landlord)

             Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
             entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

             Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day
             period after the filing of the petition.

             Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
               Case 13-33424-JNP                         Doc 1     Filed 10/25/13 Entered 10/25/13 14:58:01                                     Desc Main
B1 (Official Form 1) (4/13)                                        Document     Page 3 of 48                                                         FORM B1, Page   3
 Voluntary Petition                                                                 Name of Debtor(s):
                                                                                     Robert J. Logan and
   (This page must be completed and filed in every case)
                                                                                     Janet E. Logan
                                                                             Signatures
                    Signature(s) of Debtor(s) (Individual/Joint)                                    Signature of a Foreign Representative
I declare under penalty of perjury that the information provided in this
petition is true and correct.                                                    I declare under penalty of perjury that the information provided in this
[If petitioner is an individual whose debts are primarily consumer debts         petition is true and correct, that I am the foreign representative of a debtor
and has chosen to file under chapter 7] I am aware that I may proceed            in a foreign proceeding, and that I am authorized to file this petition.
under chapter 7, 11, 12, or 13 of title 11, United States Code,
understand the relief available under each such chapter, and choose to           (Check only one box.)
proceed under chapter 7.
                                                                                      I request relief in accordance with chapter 15 of title 11, United States
[If no attorney represents me and no bankruptcy petition preparer
                                                                                      Code. Certified copies of the documents required by 11 U.S.C. § 1515
signs the petition] I have obtained and read the notice required by
                                                                                      are attached.
11 U.S.C. §342(b)
                                                                                      Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
I request relief in accordance with the chapter of title 11, United States            chapter of title 11 specified in this petition. A certified copy of the
Code, specified in this petition.                                                     order granting recognition of the foreign main proceeding is attached.
 X /s/ Robert J. Logan
     Signature of Debtor                                                         X
                                                                                      (Signature of Foreign Representative)
 X /s/ Janet E. Logan
     Signature of Joint Debtor

                                                                                      (Printed name of Foreign Representative)
     Telephone Number (if not represented by attorney)

     10/25/2013                                                                       (Date)
     Date

                                  Signature of Attorney*
                                                                                               Signature of Non-Attorney Bankruptcy Petition Preparer
 X /s/ Richard S. Hoffman, Jr.                                                  I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Signature of Attorney for Debtor(s)                                        preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                compensation and have provided the debtor with a copy of this document
     Richard S. Hoffman, Jr. 02931
     Printed Name of Attorney for Debtor(s)
                                                                                and the notices and information required under 11 U.S.C. §§ 110(b), 110
                                                                                (h), and 342(b); and, (3) if rules or guidelines have been promulgated
     Hoffman DiMuzio                                                            pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
     Firm Name                                                                  bankruptcy petition preparers, I have given the debtor notice of the
                                                                                maximum amount before preparing any document for filing for a debtor
     412 Swedesboro Road                                                        or accepting any fee from the debtor, as required in that section. Official
     Address                                                                    Form 19 is attached.


     Mullica Hill, NJ                         08062
                                                                                 Printed Name and title, if any, of Bankruptcy Petition Preparer
     856-694-3939
     Telephone Number
                                                                                 Social-Security number (If the bankruptcy petition preparer is not an
     10/25/2013                                                                  individual, state the Social-Security number of the officer, principal,
     Date                                                                        responsible person or partner of the bankruptcy petition preparer.)
                                                                                 (Required by 11 U.S.C. § 110.)
 *In a case in which § 707(b)(4)(D) applies, this signature also
 constitutes a certification that the attorney has no knowledge
 after an inquiry that the information in the schedules is incorrect.            Address

                    Signature of Debtor (Corporation/Partnership)
                                                                                X
I declare under penalty of perjury that the information provided
in this petition is true and correct, and that I have been
authorized to file this petition on behalf of the debtor.                           Date
                                                                                 Signature of bankruptcy petition preparer or officer, principal,
The debtor requests the relief in accordance with the chapter of                 responsible person, or partner whose Social-Security number is provided
title 11, United States Code, specified in this petition.                       Names and Social-Security numbers of all other individuals who prepared
                                                                                or assisted in preparing this document unless the bankruptcy petition
                                                                                preparer is not an individual.
 X
     Signature of Authorized Individual



     Printed Name of Authorized Individual
                                                                                 If more than one person prepared this document, attach additional
                                                                                 sheets conforming to the appropriate official form for each person.
     Title of Authorized Individual                                              A bankruptcy petition preparer’s failure to comply with the provisions of title
                                                                                 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                 imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
     Date
             Case 13-33424-JNP
B 1D (Official Form 1, Exhibit D) (12/09)         Doc 1        Filed 10/25/13 Entered 10/25/13 14:58:01                                Desc Main
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                                            UNITED STATES BANKRUPTCY COURT
                                                 DISTRICT OF NEW JERSEY


In re Robert J. Logan                                                                                                     Case No.
      and                                                                                                                               (if known)
      Janet E. Logan
                                            Debtor(s)




            EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                             CREDIT COUNSELING REQUIREMENT
     WARNING: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed and
you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps to stop
creditors' collection activities.


       Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate
Exhibit D. Check one of the five statements below and attach any documents as directed.

                 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.


                 2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the services provided to you and
a copy of any debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


                 3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the
services during the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver
of the credit counseling requirement so I can file my bankruptcy case now.
[Summarize exigent circumstances here.]




   If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after you
file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy of any
debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your case.
Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may also be
dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit counseling
briefing.
              Case 13-33424-JNP
 B 1D (Official Form 1, Exhibit D) (12/09)          Doc 1        Filed 10/25/13 Entered 10/25/13 14:58:01                                 Desc Main
                                                                 Document     Page 5 of 48
               4. I am not required to receive a credit counseling briefing because of:         [Check the applicable statement]
[Must be accompanied by a motion for determination by the court.]
                           Incapacity. (Defined in 11 U.S.C. § 109 (h)(4) as impaired by reason of mental illness or mental deficiency
                  so as to be incapable of realizing and making rational decisions with respect to financial responsibilities.);
                           Disability. (Defined in 11 U.S.C. § 109 (h)(4) as physically impaired to the extent of being unable, after
                  reasonable effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                           Active military duty in a military combat zone.


                  5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement
 of 11 U.S.C. § 109(h) does not apply in this district.


        I certify under penalty of perjury that the information provided above is true and correct.

                                    Signature of Debtor:       /s/ Robert J. Logan
                                    Date:    10/25/2013
             Case 13-33424-JNP
B 1D (Official Form 1, Exhibit D) (12/09)         Doc 1        Filed 10/25/13 Entered 10/25/13 14:58:01                                      Desc Main
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                                            UNITED STATES BANKRUPTCY COURT
                                                 DISTRICT OF NEW JERSEY


In re Robert J. Logan                                                                                                     Case No.
      and                                                                                                                 Chapter 13
      Janet E. Logan

                                            Debtor(s)




            EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                             CREDIT COUNSELING REQUIREMENT
     WARNING: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed and
you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps to stop
creditors' collection activities.


       Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate
Exhibit D. Check one of the five statements below and attach any documents as directed.

                 1. Within the 180 days before the filing of my bankruptcy case,            I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.


                 2. Within the 180 days before the filing of my bankruptcy case,            I received a briefing from a credit counseling
agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit
counseling and assisted me in performing a related budget analysis, but I do not I have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the services provided to you and
a copy of any debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


                 3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the
services during the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver
of the credit counseling requirement so I can file my bankruptcy case now.
[Summarize exigent circumstances here.]




   If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days
file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy
debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your
Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may
dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit
briefing.
              Case 13-33424-JNP
 B 1D (Official Form 1, Exhibit D) (12/09)          Doc 1        Filed 10/25/13 Entered 10/25/13 14:58:01                                 Desc Main
                                                                 Document     Page 7 of 48
               4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement]
[Must be accompanied by a motion for determination by the court.]
                           Incapacity. (Defined in 11 U.S.C. § 109 (h)(4) as impaired by reason of mental illness or mental deficiency
                  so as to be incapable of realizing and making rational decisions with respect to financial responsibilities.);
                           Disability. (Defined in 11 U.S.C. § 109 (h)(4) as physically impaired to the extent of being unable, after
                  reasonable effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                           Active military duty in a military combat zone.


                  5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement
 of 11 U.S.C. § 109(h) does not apply in this district.


         I certify under penalty of perjury that the information provided above is true and correct.

 Signature of Debtor:      /s/ Janet E. Logan
 Date:    10/25/2013
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FB 201A (Form 201A) (11/12)
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                              UNITED STATES BANKRUPTCY COURT

                      NOTICE TO CONSUMER DEBTOR(S) UNDER §342(b)
                               OF THE BANKRUPTCY CODE
        In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer
debts: (1) Describes briefly the services available from credit counseling services; (2) Describes briefly the
purposes, benefits and costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you
about bankruptcy crimes and notifies you that the Attorney General may examine all information you supply in
connection with a bankruptcy case.

        You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek
the advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court
employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In
order to ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that
you notify the court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two
individuals married to each other), and each spouse lists the same mailing address on the bankruptcy petition, you
and your spouse will generally receive a single copy of each notice mailed from the bankruptcy court in a jointly-
addressed envelope, unless you file a statement with the court requesting that each spouse receive a separate copy of
all notices.

1. Services Available from Credit Counseling Agencies

        With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file
for bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities
for credit counseling and provides assistance in performing a budget analysis. The briefing must be given
within 180 days before the bankruptcy filing. The briefing may be provided individually or in a group (including
briefings conducted by telephone or on the Internet) and must be provided by a nonprofit budget and credit
counseling agency approved by the United States trustee or bankruptcy administrator. The clerk of the bankruptcy
court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a joint
case must complete the briefing.

        In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
management instructional course before he or she can receive a discharge. The clerk also has a list of approved
financial management instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

         Chapter 7: Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total fee $306)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing
debts. Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine
whether the case should be permitted to proceed under chapter 7. If your income is greater than the median income
for your state of residence and family size, in some cases, the United States trustee (or bankruptcy administrator), the
trustee, or creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the
Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may
have the right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to
pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are
found to have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny
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         Form B 201A, Notice to ConsumerDocument
                                         Debtor(s) Page 9 of 48                                           Page 2

your discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
        Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore,
you may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic
support and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations;
certain debts which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused
by operating a motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove
that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy
court may determine that the debt is not discharged.

        Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing
fee, $46 administrative fee: Total fee $281)
        Chapter 13 is designed for individuals with regular income who would like to pay all or part of
their debts in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed
certain dollar amounts set forth in the Bankruptcy Code.
        Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you
owe them, using your future earnings. The period allowed by the court to repay your debts may be three years or
five years, depending upon your income and other factors. The court must approve your plan before it can take
effect.
        After completing the payments under your plan, your debts are generally discharged except for domestic
support obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts
which are not properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury;
and certain long term secured obligations.

        Chapter 11: Reorganization ($1,167 filing fee, $46 administrative fee: Total fee $1,213)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its
provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed
with an attorney.

        Chapter 12: Family Farmer or Fisherman ($200 filing fee, $46 administrative fee: Total fee $246)
        Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those
whose income arises primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

        A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty
of perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or
both. All information supplied by a debtor in connection with a bankruptcy case is subject to examination by the
Attorney General acting through the Office of the United States Trustee, the Office of the United States Attorney,
and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if
this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and
the local rules of the court. The documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.
         Case
B 201B (Form    13-33424-JNP
             201B) (12/09)                 Doc 1     Filed 10/25/13 Entered 10/25/13 14:58:01                       Desc Main
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                                    United States Bankruptcy Court
                                                                     NEW JERSEY
                                         _______________ District Of _______________

In re Robert J. Logan                                                              Case No. _________
        and
        Janet E. Logan                                                                     13
                                                                                   Chapter __________
                            Debtor

                          CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                              UNDER § 342(b) OF THE BANKRUPTCY CODE


                                                  Certification of Attorney
          I hereby certify that I delivered to the debtor the attached notice, as required by § 342(b) of the Bankruptcy Code.

  /s/ Richard S. Hoffman, Jr.
X_______________________________________
Richard S. Hoffman, Jr.                  Bar #: 02931
Hoffman DiMuzio
412 Swedesboro Road
Mullica Hill , NJ 08062
856 694 3939         Fax:     856 803 5036
rshoffman@hdhlaw.com

                                                      Certification of the Debtor
          I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.
Robert J. Logan and Janet E. Logan                                          /s/ Robert J. Logan  10/25/2013
_________________________________________                                 X___________________________________
Printed Name(s) of Debtor(s)                                              Signature of Debtor   Date

Case No. (if known) ____________________                                     /s/ Janet E. Logan
                                                                          X___________________________________
                                                                          Signature of Joint Debtor (if any)
          Date 10/25/2013



__________________________________________________________________________________________

Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the
debtor’s attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy
petition preparers on page 3 of Form B1 also include this certification.
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                                                                          According to the calculations required by this statement:
   In re   LOGAN_ ROBERT J_ & JANET E_
                      Debtor(s)                                       The applicable commitment period is 3 years.
                                                                      The applicable commitment period is 5 years.
   Case number:
                                 (If known)                           Disposable income is determined under § 1325(b)(3).
                                                                      Disposable income is not determined under § 1325(b)(3).
                                                                     (Check the boxes as directed in Lines 17 and 23 of this statement.)


                           CHAPTER 13 STATEMENT OF CURRENT MONTHLY INCOME
                     AND CALCULATION OF COMMITMENT PERIOD AND DISPOSABLE INCOME

In addition to Schedules I and J, this statement must be completed by every individual Chapter 13 debtor, whether or not filing jointly.
Joint debtors may complete one statement only.

                                                             Part I. REPORT OF INCOME
                Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
           a.        Unmarried. Complete only Column A ("Debtor’s Income") for Lines 2-10.
           b.        Married. Complete both Column A ("Debtor’s Income") and Column B ("Spouse’s Income") for lines 2-10.
   1
           All figures must reflect average monthly income received from all sources, derived during the six calendar                      Column A    Column B
           months prior to filing the bankruptcy case, ending on the last day of the month before the filing. If the amount                 Debtor's   Spouse's
           of monthly income varied during the six months, you must divide the six month total by six, and enter the                        Income      Income
           result on the appropriate line.
   2       Gross wages, salary, tips, bonuses, overtime, commissions.                                                                      $5,394.23   $2,052.88

           Income from the operation of a business, profession, or farm.             Subtract Line b from Line a and enter
           the difference in the appropriate column(s) of Line 3. If you operate more than one business, profession or
           farm, enter aggregate numbers and provide details on an attachment. Do not enter a number less than zero.
           Do not include any part of the business expenses entered on Line b as a deduction in Part IV.
   3
                a.     Gross receipts                                                $0.00
                b.     Ordinary and necessary business expenses                      $0.00
                c.     Business income                                               Subtract Line b from Line a                           $0.00       $0.00

           Rent and other real property income. Subtract Line b from Line a and enter the difference
           in the appropriate column(s) of Line 4. Do not enter a number less than zero. Do not include any
           part of the operating expenses entered on Line b as a deduction in Part IV.
   4            a.     Gross receipts                                                      $0.00
                b.     Ordinary and necessary operating expenses                           $0.00
                c.     Rent and other real property income                                 Subtract Line b from Line a                     $0.00       $0.00

   5       Interest, dividends, and royalties.                                                                                             $0.00       $0.00

   6       Pension and retirement income.                                                                                                  $0.00       $0.00

           Any amounts paid by another person or entity, on a regular basis, for the household
           expenses the debtor or the debtor’s dependents, including child support paid for that purpose.
   7       Do not include alimony or separate maintenance payments or amounts paid by the debtor’s spouse.
           Each regular payment should be reported in only one column; if a payment is listed in Column A,
           do not report that payment in Column B.                                                                                         $0.00       $0.00

           Unemployment compensation. Enter the amount in the appropriate column(s) of Line 8.
           However, if you contend that unemployment compensation received by you or your
           spouse was a benefit under the Social Security Act, do not list the amount of such compensation
   8       in Column A or B, but instead state the amount in the space below:
             Unemployment compensation claimed to
             be a benefit under the Social Security Act                       $0.00
                                                                       Debtor _____________                   $0.00
                                                                                                       Spouse _____________                $0.00       $0.00
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      Income from all other sources. Specify source and amount. If necessary, list additional sources on a
      separate page. Total and enter on Line 9. Do not include alimony or separate maintenance payments
9     paid by your spouse, but include all other payments of alimony or separate maintenance.
      Do not include any benefits received under the Social Security Act or payments received as a victim of a
      against humanity, or as a victim of international or domestic terrorism.

             a.                                                                             0
             b.                                                                             0

                                                                                                                                 $0.00         $0.00
      Subtotal. Add Lines 2 thru 9 in Column A, and, if Column B is completed, add Lines 2
10
      through 9 in Column B. Enter the total(s).                                                                                 $5,394.23     $2,052.88

      Total. If column B has been completed, add Line 10, Column A to Line 10, Column B, and
11                                                                                                                                           $7,447.11
      enter the total. If Column B has not been completed, enter the amount from Line 10, Column A.



                            Part II. CALCULATION OF § 1325(b)(4) COMMITMENT PERIOD
12    Enter the amount from Line 11.                                                                                                         $7,447.11
      Marital adjustment. If you are married, but are not filing jointly with your spouse, AND if you contend that calculation
      of the commitment period under § 1325(b)(4) does not require inclusion of the income of your spouse, enter on
      Line 13 the amount of the income listed in Line 10, Column B that was NOT paid on a regular basis for the
      household expenses of you or your dependents and specify, in the lines below, the basis for excluding this
      income (such as payment of the spouse’s tax liability or the spouse’s support of persons other than the debtor or
      the debtor’s dependents) and the amount of income devoted to each purpose. If necessary, list additional
13    adjustments on a separate page. If the conditions for entering this adjustment do not apply, enter zero.

        a.                                                                     $0.00
        b.                                                                     $0.00
        c.                                                                     $0.00
                                                                                                                                             $0.00
14    Subtract Line 13 from Line 12 and enter the result.                                                                                    $7,447.11
      Annualized current monthly income for § 1325(b)(4). Multiply the amount from Line 14 by
15
      the number 12 and enter the result.                                                                                                    $89,365.32

      Applicable median family income. Enter the median family income for applicable state and household
      size. (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the
16
      bankruptcy court.)
      a. Enter debtor’s state of residence: _________________________
                                                NEW JERSEY                 b. Enter debtor’s household size: ________________
                                                                                                                  4                          $103,786.00

      Application of § 1325(b)(4). Check the applicable box and proceed as directed.

        The amount on Line 15 is less than the amount on Line 16. Check the box for "The applicable commitment
17    period is 3 years" at the top of page 1 of this statement and continue with this statement.
        The amount on Line 15 is not less than the amount on Line 16. Check the box for "The applicable commitment
      period is 5 years" at the top of page 1 of this statement and continue with this statement.



             Part III. APPLICATION OF § 1325(b)(3) FOR DETERMINING DISPOSABLE INCOME
18    Enter the amount from Line 11.                                                                                                         $7,447.11
      Marital adjustment. If you are married, but are not filing jointly with your spouse, enter on Line 19 the total of any
      income listed in Line 10, Column B that was NOT paid on a regular basis for the household expenses of the
      debtor or the debtor’s dependents. Specify in the lines below the basis for excluding the Column B income (such
      as payment of the spouse’s tax liability or the spouse’s support of persons other than the debtor or the debtor’s
      dependents) and the amount of income devoted to each purpose. If necessary, list additional adjustments on a
19    separate page. If the conditions for entering this adjustment do not apply, enter zero.

        a.                                                                     $0.00
        b.                                                                     $0.00
        c.                                                                     $0.00
                                                                                                                                             $0.00
20    Current monthly income for § 1325(b)(3). Subtract Line 19 from Line 18 and enter the result.                                           $7,447.11
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      Annualized current monthly income for § 1325(b)(3).         Multiply the amount from Line 20 by
21
      the number 12 and enter the result.                                                                                                $89,365.32
22    Applicable median family income. Enter the amount from Line 16.                                                                    $103,786.00
      Application of § 1325(b)(3). Check the applicable box and proceed as directed.

         The amount on Line 21 is more than the amount on Line 22. Check the box for "Disposable income is
         determined under § 1325(b)(3)" at the top of page 1 of this statement and complete the remaining parts of this statement.
23
         The amount on Line 21 is not more than the amount on Line 22. Check the box for “Disposable income is not
         determined under § 1325(b)(3)” at the top of page 1 of this statement and complete Part VII of this statement.
         Do not complete Parts IV, V, or VI.

                     Part IV. CALCULATION OF DEDUCTIONS ALLOWED FROM INCOME
                        Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
      National Standards: food, apparel and services, housekeeping supplies, personal care, and miscellaneous.
      Enter in Line 24A the “Total” amount from IRS National Standards for Allowable Living Expenses for the applicable
24A   number of persons. (This information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
      court.) The applicable number of persons is the number that would currently be allowed as exemptions on your
      federal income tax return, plus the number of any additional dependents whom you support.                                          $

      National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for Out-of-Pocket
      Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for Out-of-Pocket
      Health Care for persons 65 years of age or older. (This information is available at    www.usdoj.gov/ust/ or from
      the clerk of the bankruptcy court.) Enter in Line b1 the applicable number of persons who are under 65 years of
      age, and enter in Line b2 the applicable number of persons who are 65 years of age or older. (The applicable
      number of persons in each age category is the number in that category that would currently be allowed as
      exemptions on your federal income tax return, plus the number of any additional dependents whom you support.)
      Multiply Line a1 by Line b1 to obtain a total amount for persons under 65, and enter the result in Line c1. Multiply
24B   Line a2 by Line b2 to obtain a total amount for persons 65 and older, and enter the result in Line c2. Add Lines c1
      and c2 to obtain a total health care amount, and enter the result in Line 24B.

        Household members under 65 years of age                          Household members 65 years of age or older

       a1.   Allowance per member                                       a2.    Allowance per member

       b1.   Number of members                                          b2.    Number of members

       c1.   Subtotal                                                   c2.    Subtotal                                                  $

      Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS
      Housing and Utilities Standards; non-mortgage expenses for the applicable county and family size. (This
25A   information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court). The applicable family
      size consists of the number that would currently be allowed as exemptions on your federal income tax return,
      plus the number of any additional dependents whom you support.                                                                     $

      Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount
      of the IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size (this
      information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court) (the applicable family
      size consists of the number that would currently be allowed as exemptions on your federal income tax return,
      plus the number of any additional dependents whom you support); enter on Line b the total of the Average
      Monthly Payments for any debts secured by your home, as stated in Line 47; subtract Line b from Line a and
25B   enter the result in Line 25B. Do not enter an amount less than zero.

        a.   IRS Housing and Utilities Standards; mortgage/rent Expense                                   $
       b.    Average Monthly Payment for any debts secured by your
             home, if any, as stated in Line 47                                                           $
        c.   Net mortgage/rental expense                                                                  Subtract Line b from Line a.   $

      Local Standards: housing and utilities; adjustment. If you contend that the process set out in
      Lines 25A and 25B does not accurately compute the allowance to which you are entitled under the IRS
      Housing and Utilities Standards, enter any additional amount to which you contend you are entitled, and
      state the basis for your contention in the space below:
26



                                                                                                                                         $
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      Local Standards: transportation; vehicle operation/public transportation expense.
      You are entitled to an expense allowance in this category regardless of whether you pay the expenses of
      operating a vehicle and regardless of whether you use public transportation.
      Check the number of vehicles for which you pay the operating expenses or for which the operating expenses
      are included as a contribution to your household expenses in Line 7.         0       1       2 or more.
27A
      If you checked 0, enter on Line 27A the “Public Transportation” amount from IRS Local Standards:
      Transportation. If you checked 1 or 2 or more, enter on Line 27A the “Operating Costs” amount from IRS Local
      Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan Statistical Area or
      Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
                                                                                                                                        $

      Local Standards: transportation; additional public transportation expense.
      If you pay the operating expenses for a vehicle and also use public transportation, and you contend that you
27B   are entitled to an additional deduction for your public transportation expenses, enter on Line 27B the “Public
      Transportation” amount from IRS Local Standards: Transportation. (This amount is available at          www.usdoj.gov/ust/
      or from the clerk of the bankruptcy court.)                                                                                       $

      Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number
      of vehicles for which you claim an ownership/lease expense. (You may not claim an ownership/lease expense
      for more than two vehicles.)       1    2 or more.

      Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
      (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
      Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 47; subtract Line b from Line a
28    Line 28. Do not enter an amount less than zero.

        a.     IRS Transportation Standards, Ownership Costs                         $
        b.     Average Monthly Payment for any debts secured by
               Vehicle 1, as stated in Line 47
                                                                                     $
        c.     Net ownership/lease expense for Vehicle 1                            Subtract Line b from Line a.                        $

      Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line
      only if you checked the "2 or more" Box in Line 28.
      Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
      (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
      Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 47; subtract Line b from Line a

29    Line 29. Do not enter an amount less than zero.

        a.     IRS Transportation Standards, Ownership Costs                         $
        b.     Average Monthly Payment for any debts secured by
               Vehicle 2, as stated in Line 47                                       $
        c.     Net ownership/lease expense for Vehicle 2                            Subtract Line b from Line a.                        $

      Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur
30    for all federal, state and local taxes, other than real estate and sales taxes, such as income taxes, self employment
      taxes, social security taxes, and Medicare taxes. Do not include real estate or sales taxes.                                      $

      Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly deductions
31    that are required for your employment, such as mandatory retirement contributions, union dues, and uniform costs.
      Do not include discretionary amounts, such as voluntary 401(k) contributions.                                                     $

      Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually
32    pay for term life insurance for yourself. Do not include premiums for insurance on your dependents,
      for whole life, or for any other form of insurance.                                                                               $

      Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are required
33    to pay pursuant to the order of a court or administrative agency, such as spousal or child support payments.
      Do not include payments on past due obligations included in Line 49.                                                              $

      Other Necessary Expenses: education for employment or for a physically or mentally
      challenged child. Enter the total average monthly amount that you actually expend for education that is a
34
      condition of employment and for education that is required for a physically or mentally challenged dependent
      child for whom no public education providing similar services is available.

      Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend
35
      on childcare -- such as baby-sitting, day care, nursery and preschool. Do not include other educational payments.                 $
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      Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend on health
      care that is required for the health and welfare of yourself or your dependents, that is not reimbursed by insurance or
36
      paid by a health savings account, and that is in excess of the amount entered in Line 24B.
      Do not include payments for health insurance listed or health savings accounts listed in Line 39.                                $

      Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that you actually
      pay for telecommunication services other than your basic home telephone and cell phone service—such as
37
      pagers, call waiting, caller id, special long distance, or internet service—to the extent necessary for your health
      that of your dependents. Do not include any amount previously deducted.                                                          $

38    Total Expenses Allowed under IRS Standards.           Enter the total of Lines 24 through 37.                                    $

                                   Subpart B: Additional Living Expense Deductions
                           Note: Do not include any expenses that you have listed in Lines 24-37
      Health Insurance, Disability Insurance, and Health Savings Account Expenses.                List the monthly expenses in
      the categories set out in lines a-c below that are reasonably necessary for yourself, your spouse, or your dependents.
        a.     Health Insurance                                                     $
        b.     Disability Insurance                                                 $
        c.     Health Savings Account                                               $
39
        Total and enter on Line 39
                                                                                                                                       $
        If you do not actually expend this total amount, state your actual total average monthly expenditures in the
        space below:
         $

      Continued contributions to the care of household or family members. Enter the total average actual
      monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
40
      elderly, chronically ill, or disabled member of your household or member of your immediate family who is
      unable to pay for such expenses. Do not include payments listed in Line 34.                                                      $

      Protection against family violence. Enter the total average reasonably necessary monthly expenses that you
41    actually incur to maintain the safety of your family under the Family Violence Prevention and Services Act or
      other applicable federal law. The nature of these expenses is required to be kept confidential by the court.                     $

      Home energy costs. Enter the average monthly amount, in excess of the allowance specified by IRS
      Local Standards for Housing and Utilities, that you actually expend for home energy costs.
42
      You must provide your case trustee with documentation of your actual expenses, and
      you must demonstrate that the additional amount claimed is reasonable and necessary.                                             $

      Education expenses for dependent children under 18. Enter the total average monthly expenses that you
      actually incur, not to exceed $156.25 per child, for attendance at a private or public elementary or secondary school
43    by your dependent children less than 18 years of age. You must provide your case trustee with documentation
      of your actual expenses, and you must explain why the amount claimed is reasonable and necessary and
      not already accounted for in the IRS Standards.                                                                                  $

      Additional food and clothing expense. Enter the total average monthly amount by which your food and clothing
      expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS National Standards,
44    not to exceed 5% of those combined allowances. (This information is available at  www.usdoj.gov/ust/ or from the
      clerk of the bankruptcy court.) You must demonstrate that the additional amount claimed is reasonable and
      necessary.                                                                                                                       $

      Charitable contributions. Enter the amount reasonably necessary for you to expend each month on charitable
45    contributions in the form of cash or financial instruments to a charitable organization as defined in 26 U.S.C.
      § 170(c)(1)-(2). Do not include any amount in excess of 15% of your gross monthly income.                                        $

46    Total Additional Expense Deductions under § 707(b). Enter the total of Lines 39 through 45.                                      $

                                               Subpart C: Deductions for Debt Payment
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      Future payments on secured claims. For each of your debts that is secured by an interest in property that you
      own, list the name of the creditor, identify the property securing the debt, state the Average Monthly Payment, and
      check whether the payment includes taxes or insurance. The Average Monthly Payment is the total of all amounts
      scheduled as contractually due to each Secured Creditor in the 60 months following the filing of the bankruptcy
      case, divided by 60. If necessary, list additional entries on a separate page. Enter the total of the Average Monthly

               Name of Creditor          Property Securing the Debt                    Average Payment              Does payment include
                                                                                                                    taxes or insurance?
47
        a.                                                                             $                                Yes       No
        b.                                                                             $                                Yes       No
        c.                                                                             $                                Yes       No
        d.                                                                             $                                Yes       No
        e.                                                                             $                                Yes       No
                                                                                      Total: Add Lines a - e                                 $


      Other payments on secured claims. If any of the debts listed in Line 47 are secured by your primary
      residence, a motor vehicle, or other property necessary for your support or the support of your dependents,
      you may include in your deduction 1/60th of any amount (the "cure amount") that you must pay the creditor
      in addition to the payments listed in Line 47, in order to maintain possession of the property. The cure
      amount would include any sums in default that must be paid in order to avoid repossession or foreclosure.
      List and total any such amounts in the following chart. If necessary, list additional entries on a separate page.
               Name of Creditor            Property Securing the Debt                              1/60th of the Cure Amount
48
        a.                                                                                         $
        b.                                                                                         $
        c.                                                                                         $
        d.                                                                                         $
                                                                                                                                             $
        e.                                                                                         $
                                                                                                   Total: Add Lines a - e

      Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such
49    as priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy filing.
      Do not include current obligations, such as those set out in Line 33.                                                                  $

      Chapter 13 administrative expenses. Multiply the amount in Line a by the amount in Line b, and
      enter the resulting administrative expense.
        a.     Projected average monthly Chapter 13 plan payment.                              $
50      b.     Current multiplier for your district as determined under schedules
               issued by the Executive Office for United States Trustees.
               (This information is available at www.usdoj.gov/ust/ or from the
               clerk of the bankruptcy court.)                                             x
        c.     Average monthly administrative expense of Chapter 13 case                   Total: Multiply Lines a and b                     $

51    Total Deductions for Debt Payment. Enter the total of Lines 47 through 50.                                                             $

                                               Subpart D: Total Deductions from Income
52     Total of all deductions from income. Enter the total of Lines 38, 46, and 51.                                                         $




                   Part V. DETERMINATION OF DISPOSABLE INCOME UNDER § 1325(b)(2)
53    Total current monthly income. Enter the amount from Line 20.                                                                           $

      Support income. Enter the monthly average of any child support payments, foster care payments, or
54    disability payments for a dependent child, reported in Part I, that you received in accordance with applicable
      nonbankruptcy law, to the extent reasonably necessary to be expended for such child.                                                   $

      Qualified retirement deductions. Enter the monthly total of (a) all amounts withheld by your employer from wages
55    as contributions for qualified retirement plans, as specified in § 541(b)(7) and (b) all required repayments of loans from
      retirement plans, as specified in § 362(b)(19).                                                                                        $

56    Total of all deductions allowed under § 707(b)(2). Enter the amount from Line 52.
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      Deduction for special circumstances. If there are special circumstances that justify additional expenses for which
      there is no reasonable alternative, describe the special circumstances and the resulting expenses in lines a-c
      below. If necessary, list additional entries on a separate page. Total the expenses and enter the total in Line 57.
      You must provide your case trustee with documentation of these expenses and you must provide
      a detailed explanation of the special circumstances that make such expenses necessary and

57
                Nature of special circumstances                                       Amount of expense
        a.                                                                            $0.00
        b.                                                                            $0.00
        c.                                                                            $0.00
                                                                                      Total: Add Lines a, b, and c                       $0.00

      Total adjustments to determine disposable income.           Add the amounts on Lines 54, 55, 56, and 57
58
      and enter the result.                                                                                                              $

      Monthly Disposable Income Under § 1325(b)(2). Subtract Line 58 from Line 53 and enter the
59
      result.                                                                                                                            $

                                            Part VI: ADDITIONAL EXPENSE CLAIMS
      Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the
      health and welfare of you and your family and that you contend should be an additional deduction from your current
      monthly income under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect
      your average monthly expense for each item. Total the expenses.
                                      Expense Description                                              Monthly Amount
60
        a.                                                                            $
        b.                                                                            $
        c.                                                                            $
                                          Total: Add Lines a, b, and c                $




                                                         Part VII: VERIFICATION
      I declare under penalty of perjury that the information provided in this statement is true and correct. (If this a joint case,
      both debtors must sign.)
      Date: ________________________
             10/25/2013                                   /s/ Robert J. Logan
                                             Signature: ______________________________________________________________________
61
                                                               (Debtor)
             10/25/2013
      Date: ________________________                       /s/ Janet E. Logan
                                             Signature: ______________________________________________________________________
                                                         (Joint Debtor, if any )
               Case 13-33424-JNP
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In re Robert J. Logan and Janet E. Logan                                                         ,                Case No.
                        Debtor(s)                                                                                                              (if known)


                                               SCHEDULE A-REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers
exercisable for the debtor’s own benefit. If the debtor is married, state whether the husband, wife, both, or the marital community own the property
by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write
“None” under “Description and Location of Property.”
Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory
Contracts and Unexpired Leases.

If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.

                                                                                                                      Current
              Description and Location of Property                         Nature of Debtor's                                              Amount of
                                                                                                                       Value
                                                                          Interest in Property                   of Debtor's Interest,
                                                                                                                                         Secured Claim
                                                                                                   Husband--H    in Property Without
                                                                                                      Wife--W       Deducting any
                                                                                                      Joint--J    Secured Claim or
                                                                                                 Community--C         Exemption


Residence                                                     Husband and Wife                               J      $139,849.00           $138,849.00
317 Cornell Road
Glassboro, NJ 08028


Rental Property - Surrendered                   in prior Fee Simple                                          H      $140,000.00           $132,740.16
bankruptcy
414-418 Ellis Street
Glassboro, NJ 08028




No continuation sheets attached                                                            TOTAL $                 279,849.00
                                                                    (Report also on Summary of Schedules.)
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In re Robert J. Logan and Janet E. Logan                                                                  ,                  Case No.
                         Debtor(s)                                                                                                                               (if known)


                                                      SCHEDULE B-PERSONAL PROPERTY
Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
identified with the case name, case number, and the number of the category. If the debtor is married, state whether the husband, wife, both, or the
marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory Contracts
and Unexpired Leases.
If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If
the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                                                                                                      Current
               Type of Property                   N              Description and Location of Property                                                  Value
                                                                                                                                                of Debtor's Interest,
                                                  o                                                                         Husband--H          in Property Without
                                                                                                                                Wife--W            Deducting any
                                                  n                                                                                              Secured Claim or
                                                                                                                               Joint--J
                                                  e                                                                       Community--C               Exemption


1. Cash on hand.                                      Cash on hand                                                                     J                        $40.00
                                                      Location: In debtor's possession


2. Checking, savings or other financial               Checking account                                                                 J                     $326.69
   accounts, certificates of deposit, or shares
   in banks, savings and loan, thrift, building       PNC Bank
   and loan, and homestead associations, or           Acct. #3953
   credit unions, brokerage houses, or
   cooperatives.                                      Location: In debtor's possession


3. Security deposits with public utilities,       X
   telephone companies, landlords, and
   others.
4. Household goods and furnishings,                   Miscellaneous household goods & furnishings                                      J                 $3,500.00
   including audio, video, and computer
   equipment.                                         Location: In debtor's possession


5. Books, pictures and other art objects,         X
   antiques, stamp, coin, record, tape,
   compact disc, and other collections or
   collectibles.

6. Wearing apparel.                                   Wearing apparel                                                                  J                     $200.00
                                                      Location: In debtor's possession


7. Furs and jewelry.                                  Jewelry                                                                          J                     $800.00
                                                      Location: In debtor's possession


8. Firearms and sports, photographic, and         X
   other hobby equipment.

9. Interests in insurance policies. Name              Life Insurance - Term                                                            H                         $0.00
   insurance company of each policy and
   itemize surrender or refund value of each.

                                                      Life Insurance - Term                                                            W                         $0.00



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In re Robert J. Logan and Janet E. Logan                                                                 ,     Case No.
                         Debtor(s)                                                                                                              (if known)


                                                       SCHEDULE B-PERSONAL PROPERTY
                                                                           (Continuation Sheet)

                                                                                                                                    Current
               Type of Property                    N              Description and Location of Property                               Value
                                                                                                                               of Debtor's Interest,
                                                   o                                                           Husband--H      in Property Without
                                                                                                                   Wife--W        Deducting any
                                                   n                                                                            Secured Claim or
                                                                                                                  Joint--J
                                                   e                                                         Community--C           Exemption



10. Annuities. Itemize and name each issuer.       X

11. Interest in an education IRA as                X
    defined in 26 U.S.C. 530(b)(1) or under
    a qualified State tuition plan as defined in
    26 U.S.C. 529(b)(1). Give particulars.
    (File separately the record(s) of any such
    interest(s). 11 U.S.C. 521(c).)

12. Interests in IRA, ERISA, Keogh, or other           Pension - PERS                                                   H                   Unknown
    pension or profit sharing plans. Give
    particulars.


13. Stock and interests in incorporated and        X
    unincorporated businesses. Itemize.

14. Interests in partnerships or joint ventures.   X
    Itemize.

15. Government and corporate bonds and             X
    other negotiable and non-negotiable
    instruments.
16. Accounts Receivable.                           X

17. Alimony, maintenance, support, and             X
    property settlements to which the debtor
    is or may be entitled. Give particulars.
18. Other liquidated debts owed to debtor          X
    including tax refunds. Give particulars.

19. Equitable or future interests, life estates,   X
    and rights or powers exercisable for the
    benefit of the debtor other than those
    listed in Schedule of Real Property.

20. Contingent and non-contingent interests        X
    in estate of a decedent, death benefit
    plan, life insurance policy, or trust.
21. Other contingent and unliquidated claims       X
    of every nature, including tax refunds,
    counterclaims of the debtor, and rights to
    setoff claims. Give estimated value of
    each.
22. Patents, copyrights, and other intellectual    X
    property. Give particulars.

23. Licenses, franchises, and other general        X
    intangibles. Give particulars.

24. Customer lists or other compilations           X
    containing personally identifiable
    information (as described in 11 U.S.C.
    101(41A)) provided to the debtor by
    individuals in connection with obtaining
    a product or service from the debtor
    primarily for personal, family, or
    household purposes.
25. Automobiles, trucks, trailers and other            2001 Chrysler PT Cruiser                                         J               $1,422.00
    vehicles and accessories.
                                                       Location: In debtor's possession


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In re Robert J. Logan and Janet E. Logan                                                            ,              Case No.
                         Debtor(s)                                                                                                                    (if known)


                                                  SCHEDULE B-PERSONAL PROPERTY
                                                                      (Continuation Sheet)

                                                                                                                                          Current
                 Type of Property             N              Description and Location of Property                                          Value
                                                                                                                                     of Debtor's Interest,
                                              o                                                                    Husband--H        in Property Without
                                                                                                                       Wife--W          Deducting any
                                              n                                                                                       Secured Claim or
                                                                                                                      Joint--J
                                              e                                                                  Community--C             Exemption




                                                  2003 Mitsubishi Outlander                                                  H                $4,151.00
                                                  Location: In debtor's possession


                                                  2004 VW Beetle                                                             H                $4,087.00
                                                  Location: In debtor's possession


26. Boats, motors, and accessories.           X

27. Aircraft and accessories.                 X

28. Office equipment, furnishings, and        X
    supplies.

29. Machinery, fixtures, equipment and        X
    supplies used in business.

30. Inventory.                                X

31. Animals.                                  X

32. Crops - growing or harvested.             X
    Give particulars.

33. Farming equipment and implements.         X

34. Farm supplies, chemicals, and feed.       X

35. Other personal property of any kind not   X
    already listed. Itemize.




Page       3      of   3                                                                                      Total                          $14,526.69
                                                                                                                  (Report total also on Summary of Schedules.)
                                                                                                        Include amounts from any continuation sheets attached.
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In re Robert J. Logan and Janet E. Logan                                                       ,                  Case No.
                        Debtor(s)                                                                                                                  (if known)


                                    SCHEDULE C-PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under:          Check if debtor claims a homestead exemption that exceeds $155,675.*
(Check one box)
   11 U.S.C. § 522(b) (2)
   11 U.S.C. § 522(b) (3)




                                                                     Specify Law                               Value of                  Current
             Description of Property                                Providing each                             Claimed              Value of Property
                                                                      Exemption                               Exemption             Without Deducting
                                                                                                                                       Exemptions


Cash on hand                                        11 USC 522(d)(5)                                                 $ 40.00                    $ 40.00

Checking account                                    11 USC 522(d)(5)                                               $ 326.69                     $ 326.69

Miscellaneous household goods                       11 USC 522(d)(3)                                            $ 3,500.00                $ 3,500.00
& furnishings

Wearing apparel                                     11 USC 522(d)(3)                                               $ 200.00                     $ 200.00

Jewelry                                             11 USC 522(d)(4)                                               $ 800.00                     $ 800.00

Life Insurance - Term                               11 USC 522(d)(7)                                                  $ 0.00                      $ 0.00

Life Insurance - Term                               11 USC 522(d)(7)                                                  $ 0.00                      $ 0.00

Pension - PERS                                      11 USC 522(d)(12)                                                 $ 0.00                     Unknown

2001 Chrysler PT Cruiser                            11 USC 522(d)(5)                                            $ 1,422.00                $ 1,422.00

2003 Mitsubishi Outlander                           11 USC 522(d)(2)                                            $ 3,675.00                $ 4,151.00
                                                    11 USC 522(d)(5)                                              $ 476.00

2004 VW Beetle                                      11 USC 522(d)(5)                                               $ 814.00               $ 4,087.00

Any exemption not used is to be applied on any assets which Petitioners have
forgotten or neglected to list, up to $23,950.00, under 11 USC 522(d)(5).




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* Amount subject to adjustment on 4/1/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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In re Robert J. Logan and Janet E. Logan                                                             ,                                    Case No.
                           Debtor(s)                                                                                                                                              (if known)

                            SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

           State the name, mailing address, including zip code, and last four digits of any account number of all entities holding
claims secured by property of the debtor as of the date of filing of the petition. The complete account number of any account the
debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List
creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust,
and other security interests.
           List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the
child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the
continuation sheet provided.
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled
“Codebtor,” include the entity on the appropriate schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is
filed, state whether the husband, wife, both of them, or the marital community may be liable on each claim by placing an “H,” “W,”
“J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
           If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the
column labeled “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an
“X” in more than one of these three columns.)
           Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the
boxes labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim
Without Deducting Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily
consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain
Liabilities and Related Data.




    Check this box if debtor has no creditors holding secured claims to report on this Schedule D.


                Creditor's Name and                            Date Claim was Incurred, Nature                                         Amount of Claim                   Unsecured
                  Mailing Address                              of Lien, and Description and Market                                           Without                   Portion, If Any
                                                                                                                     Unliquidated




              Including ZIP Code and
                                                                                                                     Contingent




                                                               Value of Property Subject to Lien
                                                   Co-Debtor




                                                                                                                                       Deducting Value
                                                                                                                     Disputed




                  Account Number
              (See Instructions Above.)                        H--Husband                                                                 of Collateral
                                                               W--Wife
                                                               J--Joint
                                                               C--Community
Account No:   7418869954                                       H                                                                           $ 87,750.00                              $ 0.00

Creditor # : 1                                                     Mortgage on
GMAC Mortgage
1100 Virginia Drive                                                Rental Property - Surrendered
Ft. Washington IAPA 19034                                          and discharged in prior
                                                                   bankruptcy

                                                                   Value:   $ 140,000.00
Account No:   7418869954
                                                                   Zucker Goldberg & Ackerman
Representing:                                                      PO Box 1024
                                                                   Mountainside NJ 07092-0024
GMAC Mortgage


                                                                   Value:

2      continuation sheets attached                                                                             Subtotal $                 $ 87,750.00                               $ 0.00
                                                                                                             (Total of this page)
                                                                                                                      Total $
                                                                                                         (Use only on last page)
                                                                                                                                    (Report also on Summary of   (If applicable, report also on
                                                                                                                                    Schedules.)                  Statistical Summary of
                                                                                                                                                                 Certain Liabilities and
                                                                                                                                                                 Related Data)
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In re Robert J. Logan and Janet E. Logan                                                                ,                                    Case No.
                           Debtor(s)                                                                                                                                                 (if known)

                            SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS


                                                                                 (Continuation Sheet)


                Creditor's Name and                            Date Claim was Incurred, Nature                                            Amount of Claim                   Unsecured
                  Mailing Address                              of Lien, and Description and Market                                              Without                   Portion, If Any




                                                                                                                        Unliquidated
              Including ZIP Code and




                                                                                                                        Contingent
                                                               Value of Property Subject to Lien
                                                   Co-Debtor

                                                                                                                                          Deducting Value




                                                                                                                        Disputed
                  Account Number
              (See Instructions Above.)                        H--Husband                                                                    of Collateral
                                                               W--Wife
                                                               J--Joint
                                                               C--Community
Account No:   7418869954
                                                                   Ocwen Loan Servicing, LLC
Representing:                                                      3451 Hammond Avenue
                                                                   Waterloo IA 50702-5345
GMAC Mortgage


                                                                   Value:

Account No:   0599949773                                       H                                                             X              $ 207,387.45                    $ 68,538.45

Creditor # : 2                                                     Mortgage on
Nationstar Mortgage, LLC
350 Highland Drive                                                 Residence
Lewisville TX 75067


                                                                   Value:   $ 139,849.00
Account No:   0599949773
                                                                   Milstead & Associates, LLC
Representing:                                                      Woodland Falls Corporate Park
                                                                   220 lake Drive East, Suite 301
Nationstar Mortgage, LLC                                           Cherry Hill NJ 08002


                                                                   Value:

Account No:   1361179717                                       J                                                             X                $ 18,944.51                              $ 0.00

Creditor # : 3                                                     2nd morrtgage on
TD Bank
PO Box 219                                                         Rental Property - Surrendering
Lewiston ME 04243


                                                                   Value:   $ 140,000.00
Account No:   1361221788                                       J                                                                              $ 26,045.65                              $ 0.00

Creditor # : 4                                                     3rd mortgage on
TD Bank
PO Box 219                                                         Rental Property - Surrendered
Lewiston ME 04243                                                  and discharged in prior
                                                                   bankruptcy

                                                                   Value:   $ 140,000.00
Sheet no. 1        of 2      continuation sheets attached to Schedule of Creditors                                 Subtotal $               $ 252,377.61                     $ 68,538.45
Holding Secured Claims                                                                                          (Total of this page)
                                                                                                                         Total $
                                                                                                            (Use only on last page)
                                                                                                                                       (Report also on Summary of   (If applicable, report also on
                                                                                                                                       Schedules.)                  Statistical Summary of
                                                                                                                                                                    Certain Liabilities and
                                                                                                                                                                    Related Data)
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In re Robert J. Logan and Janet E. Logan                                                                ,                                    Case No.
                           Debtor(s)                                                                                                                                                 (if known)

                            SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS


                                                                                 (Continuation Sheet)


                Creditor's Name and                            Date Claim was Incurred, Nature                                            Amount of Claim                   Unsecured
                  Mailing Address                              of Lien, and Description and Market                                              Without                   Portion, If Any




                                                                                                                        Unliquidated
              Including ZIP Code and




                                                                                                                        Contingent
                                                               Value of Property Subject to Lien
                                                   Co-Debtor

                                                                                                                                          Deducting Value




                                                                                                                        Disputed
                  Account Number
              (See Instructions Above.)                        H--Husband                                                                    of Collateral
                                                               W--Wife
                                                               J--Joint
                                                               C--Community
Account No:   84344057                                         H                                                             X                  $ 3,273.00                             $ 0.00

Creditor # : 5                                                     Loan for
Volkswagen Credit
PO Box 5215                                                        2004 VW Beetle
Carol Stream IL 60197-5215


                                                                   Value:   $ 4,087.00
Account No:




                                                                   Value:
Account No:




                                                                   Value:
Account No:




                                                                   Value:
Account No:




                                                                   Value:

Sheet no. 2        of 2      continuation sheets attached to Schedule of Creditors                                 Subtotal $                   $ 3,273.00                              $ 0.00
Holding Secured Claims                                                                                          (Total of this page)
                                                                                                                         Total $            $ 343,400.61                     $ 68,538.45
                                                                                                            (Use only on last page)
                                                                                                                                       (Report also on Summary of   (If applicable, report also on
                                                                                                                                       Schedules.)                  Statistical Summary of
                                                                                                                                                                    Certain Liabilities and
                                                                                                                                                                    Related Data)
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In re Robert J. Logan and Janet E. Logan                                                                 ,                             Case No.
                           Debtor(s)                                                                                                                             (if known)
               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

         A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

       The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on
the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them
or the marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community." If
the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If
the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

       Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E
in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

        Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts
entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily
consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

         Report the total of amounts NOT entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
amounts not entitled to priority listed on this Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Individual debtors with
primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

     Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

     Domestic Support Obligations
     Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
     or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
     provided in 11 U.S.C. § 507(a)(1).

     Extensions of credit in an involuntary case
     Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
     the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

     Wages, salaries, and commissions
     Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
     qualifying independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original
     petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

     Contributions to employee benefit plans
     Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
     cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

     Certain farmers and fishermen
     Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

     Deposits by individuals
     Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household
     use, that were not delivered or provided. 11 U.S.C. § 507(a)(7).

     Taxes and Certain Other Debts Owed to Governmental Units
     Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

     Commitments to Maintain the Capital of an Insured Depository Institution
     Claims based on commitments to FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of
     the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507
     (a)(9).
     Claims for Death or Personal Injury While Debtor Was Intoxicated
     Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
     alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).
  * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                        No continuation sheets attached
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B6F (Official Form 6F) (12/07)


In re Robert J. Logan and Janet E. Logan                                                                           ,                                   Case No.
                           Debtor(s)                                                                                                                                                                          (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
         State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without
priority against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the
debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a
creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all
creditors will not fit on this page, use the continuation sheet provided.

     If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on
the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of
them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or
Community."

         If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
"Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three
columns.)

       Report total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedules. Report this total also on
the Summary of Schedules, and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of
Certain Liabilities and Related Data.



   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.


         Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                              Amount of Claim
                                                                              and Consideration for Claim.




                                                                                                                                                                       Unliquidated
                                                        Co-Debtor




                  including Zip Code,




                                                                                                                                                        Contingent
                                                                               If Claim is Subject to Setoff, so State.




                                                                                                                                                                                      Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          8030
Account No:                                                         H                                                                                                  X                                     $ 307.45
Creditor # : 1                                                           Credit Card Purchases
Blaze Credit Card
500 E. 60th Street North
Sioux Falls SD 57104



          521044000702....
Account No:                                                         W                                                                                                  X                                     $ 513.00
Creditor # : 2                                                           Credit Card Purchases
Bryant State Bank
500 E 60th St N
Sioux Falls SD 57104



          521044000503....
Account No:                                                         H                                                                                                  X                                  $ 1,382.00
Creditor # : 3                                                           Credit Card Purchases
Bryant State Bank
500 E. 60th St
Sioux Falls SD 57104



     2 continuation sheets attached                                                                                                                  Subtotal $                                           $ 2,202.45
                                                                                                                                                                     Total $
                                                                                (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                        Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
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In re Robert J. Logan and Janet E. Logan                                                                           ,                                   Case No.
                           Debtor(s)                                                                                                                                                                          (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     (Continuation Sheet)




         Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                              Amount of Claim
                                                                              and Consideration for Claim.




                                                                                                                                                                       Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                        Contingent
                                                                               If Claim is Subject to Setoff, so State.




                                                                                                                                                                                      Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          0255
Account No:                                                         W                                                                                                  X                                  $ 1,929.17
Creditor # : 4                                                           Credit Card Purchases
Capital One
PO Box 30285
Salt Lake City UT 84130-0285



          515599003340....
Account No:                                                         H                                                                                                  X                                     $ 701.00
Creditor # : 5                                                           Credit Card Purchases
Capital One Bank (USA), N.A.
PO Box 30281
Salt Lake City UT 84130



          27529549738....
Account No:                                                         H                                                                                                  X                                  $ 8,793.00
Creditor # : 6                                                           Student Loan co-signed son
Charter One Bank / GLELSI
PO Boix 7860
Madison WI 53707



          444796219163....
Account No:                                                         H                                                                                                  X                                  $ 1,082.37
Creditor # : 7                                                           Credit Card Purchases
Credit One Bank
PO Box 98873
Las Vegas NV 89183



          3621
Account No:                                                         H                                                                                                  X                                     $ 349.76
Creditor # : 8                                                           Credit Card Purchases
First National Credit Card
PO Box 2496
Omaha NE 68103




Sheet No.      1 of        2 continuation sheets attached to Schedule of                                                                             Subtotal $                                          $ 12,855.30
Creditors Holding Unsecured Nonpriority Claims                                                                                                                       Total $
                                                                                (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                        Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
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In re Robert J. Logan and Janet E. Logan                                                                           ,                                   Case No.
                           Debtor(s)                                                                                                                                                                          (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     (Continuation Sheet)




         Creditor's Name, Mailing Address                                     Date Claim was Incurred,                                                                                              Amount of Claim
                                                                              and Consideration for Claim.




                                                                                                                                                                       Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                        Contingent
                                                                               If Claim is Subject to Setoff, so State.




                                                                                                                                                                                      Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          5178006312046198
Account No:                                                         H                                                                                                                                        $ 669.00
Creditor # : 9                                                           Credit Card Purchases
First Premier Bank
PO Box 5524
Sioux Falls SD 57117-5524



          5178006383180108
Account No:                                                         H                                                                                                  X                                     $ 354.88
Creditor # : 10                                                          Credit Card Purchases
First Premier Bank
PO Box 5524
Sioux Falls SD 57117-5524



          2071
Account No:                                                         H                                                                                                  X                                  $ 1,000.00
Creditor # : 11                                                          Credit Card Purchases
GECRB/Care Credit Card
Attn: Bankruptcy Department
PO Box 103106
Roswell GA 30076


          2216
Account No:                                                         W                                                                                                  X                                     $ 413.92
Creditor # : 12                                                          Credit Card Purchases
Show Card Credit Card
Attn: Bryant State Bank
124 W. Main Avenue
Bryant SD 57221


          275295497379....
Account No:                                                         H                                                                                                  X                                 $ 45,456.00
Creditor # : 13                                                          Student Loan co-signed son
US Dept of Edcation / GLE                                                2 accounts
2401 International
PO Box 7859
Madison WI 53704




Sheet No.      2 of        2 continuation sheets attached to Schedule of                                                                             Subtotal $                                          $ 47,893.80
Creditors Holding Unsecured Nonpriority Claims                                                                                                                       Total $
                                                                                (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of                                         $ 62,951.55
                                                                        Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related
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In re Robert J. Logan and Janet E. Logan                                                                       / Debtor             Case No.
                                                                                                                                                                        (if known)


                  SCHEDULE G-EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State the nature of
debtor's interests in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing
addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See,
11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).



   Check this box if the debtor has no executory contracts or unexpired leases.

               Name and Mailing Address,                                                        Description of Contract or Lease and
                 Including Zip Code, of                                                              Nature of Debtor's Interest.
                 Other Parties to Lease                                                State whether Lease is for Nonresidential Real Property.
                      or Contract.                                                      State Contract Number of any Government Contract.




                                                                                                                                                         Page      1 of          1
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In re Robert J. Logan and Janet E. Logan                                                      / Debtor         Case No.
                                                                                                                                            (if known)


                                                      SCHEDULE H-CODEBTORS

Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the
debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
Wisconsin) within the eight year period immediately preeceding the commencement of the case, identify the name of the debtors spouse and of
any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used by
the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
   Check this box if the debtor has no codebtors.

                        Name and Address of Codebtor                                             Name and Address of Creditor




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In re Robert J. Logan and Janet E. Logan                                                                  ,                    Case No.
                          Debtor(s)                                                                                                                       (if known)


                          SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
   Debtor's Marital                                                                  DEPENDENTS OF DEBTOR AND SPOUSE
     Status:                       RELATIONSHIP(S):                                                                                AGE(S):
      Married                      Son                                                                                             21
                                   Son                                                                                             16
  EMPLOYMENT:                                                   DEBTOR                                                                       SPOUSE

  Occupation                     Counselor                                                                Sales
  Name of Employer               Center for Family Services                                               Thomas Scientific
  How Long Employed
  Address of Employer            583 Benson Street                                                         1654 High Hill Road
                                 Camden NJ 08103                                                           Swedesboro NJ 08085


  Occupation                     Substance Abuse Professional
  Name of Employer               Rowan University
  How Long Employed
  Address of Employer            201 Mullica Hill Road
                                 Glassboro NJ 08028
  INCOME: (Estimate of average or projected monthly income at time case filed)                                            DEBTOR                             SPOUSE
  1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $                       5,394.23 $                       2,052.88
  2. Estimate monthly overtime                                                                             $                           0.00 $                           0.00
  3. SUBTOTAL                                                                                              $                       5,394.23 $                       2,052.88
  4. LESS PAYROLL DEDUCTIONS
      a. Payroll taxes and social security                                                                 $                            849.57    $                     198.31
      b. Insurance                                                                                         $                             81.15    $                      15.93
      c. Union dues                                                                                        $                             48.75    $                       0.00
      d. Other (Specify): Pers                                                                             $                            325.94    $                       0.00
  5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $                       1,305.41 $                           214.24
  6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $                       4,088.82       $                 1,838.64
  7. Regular income from operation of business or profession or farm (attach detailed statement)           $                           0.00       $                     0.00
  8. Income from real property                                                                             $                           0.00       $                     0.00
  9. Interest and dividends                                                                                $                           0.00       $                     0.00
  10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that          $                           0.00       $                     0.00
  of dependents listed above.
  11. Social security or government assistance
    (Specify):                                                                                             $                              0.00 $                           0.00
  12. Pension or retirement income                                                                         $                              0.00 $                           0.00
  13. Other monthly income
    (Specify):                                                                                             $                              0.00 $                           0.00

  14. SUBTOTAL OF LINES 7 THROUGH 13                                                                          $                        0.00 $                              0.00
  15. AVERAGE MONTHLY INCOME                 (Add amounts shown on lines 6 and 14)                            $                    4,088.82 $                       1,838.64
  16. COMBINED AVERAGE MONTHLY INCOME:                 (Combine column totals                                                  $                  5,927.46
    from line 15; if there is only one debtor repeat total reported on line 15)
                                                                                                                  (Report also on Summary of Schedules and, if applicable, on
                                                                                                                   Statistical Summary of Certain Liabilities and Related Data)


  17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:




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In re Robert J. Logan and Janet E. Logan                                                                      ,                           Case No.
                            Debtor(s)                                                                                                                                        (if known)

                          SCHEDULE J-CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR

        Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family. Prorate any payments
made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may differ from
the deductions from income allowed on Form 22 A or 22C.
    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of expenditures labeled
    "Spouse."

 1. Rent or home mortgage payment (include lot rented for mobile home)                                                                                   $                  1,650.00
                                                                             .....................................................................................................................
       a. Are real estate taxes included?        Yes         No
       b. Is property insurance included?        Yes         No
 2. Utilities: a. Electricity and heating fuel                                                                                                            $                    450.00
                                                ..................................................................................................................................................
                b. Water and sewer                                                                                                                        $                    125.00
                c. Telephone       ..............................................................................................................................................................
                                                                                                                                                          $                        0.00
                d. Other      Cable, Internet & Phone                                                                                                     $                    275.00
                  Other       Cell Phones
                             ...................................................................................................................................................................
                                                                                                                                                          $                    300.00

 3. Home maintenance (repairs and upkeep)                                                                                                                 $                     125.00
                                                   ..............................................................................................................................................
 4. Food                                                                                                                                             $                     700.00
 5. Clothing                                                                                                                                         $                     125.00
             .................................................................................................................................................................................
 6. Laundry and dry cleaning                                                                                                                         $                      75.00
 7. Medical and dental expenses                                                                                                                           $                     250.00
                                         ........................................................................................................................................................
 8. Transportation (not including car payments)                                                                                                           $                     500.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                                     $                       50.00
                                                                             ..................................................................................................................
 10. Charitable contributions                                                                                                                             $                      80.00
 11. Insurance (not deducted from wages or included in home mortgage payments)
              a. Homeowner's or renter's                                                                                                                  $                         0.00
                                             ....................................................................................................................................................
              b. Life                                                                                                                                     $                     170.00
              c. Health                                                                                                                                  $                         0.00
                           ......................................................................................................................................................................
              d. Auto                                                                                                                                 $                     200.00
              e. Other                                                                                                                                $                         0.00
                      ........................................................................................................................................................................
                Other                                                                                                                                 $                         0.00


  12. Taxes (not deducted from wages or included in home mortgage)
  (Specify)                                                                                                                                               $                        0.00
  13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
           a. Auto                                                                                                                                        $                     375.30
                          ........................................................................................................................................................................
           b. Other:                                                                                                                                      $                        0.00
           c. Other:                                                                                                                                      $                         0.00
                          ........................................................................................................................................................................

  14. Alimony, maintenance, and support paid to others                                                                                                    $                        0.00
                                                              ..................................................................................................................................
  15. Payments for support of additional dependents not living at your home                                                                              $                        0.00
  16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                                       $                        0.00
                                                                                                         ....................................................................................
  17. Other:      Personal expenses haircuts etc                                                                                                         $                      60.00
     Other:                                                                                                                                              $                        0.00
                  ...............................................................................................................................................................................
                                                                                                                                                                                   0.00
  18. AVERAGE MONTHLY EXPENSES Total lines 1-17. Report also on Summary of Schedules                                                                      $                 5,510.30
     and, if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
  19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:


  20. STATEMENT OF MONTHLY NET INCOME
      a. Average monthly income from Line 16 of Schedule I                                                                                                $                 5,927.46
      b. Average monthly expenses from Line 18 above                                                                                                      $                 5,510.30
      c. Monthly net income (a. minus b.)                                                                                                                 $                   417.16
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                                            UNITED STATES BANKRUPTCY COURT
                                                 DISTRICT OF NEW JERSEY

   In re Robert J. Logan and Janet E. Logan                                                                                  Case No.
                                                                                                                             Chapter 13


                                                                                                               / Debtor




                                                          SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the
boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts of all claims from Schedules D, E, and
F to determine the total amount of the debtor's liabilities. Individual debtors must also complete the "Statistical Summary of Certain Liabilities and Related Data"if they
file a case under chapter 7, 11, or 13.




                                          Attached           No. of
       NAME OF SCHEDULE                   (Yes/No)           Sheets                  ASSETS                         LIABILITIES                        OTHER

 A-Real Property
                                             Yes                1        $              279,849.00

 B-Personal Property
                                             Yes                3        $                14,526.69

 C-Property Claimed as
   Exempt
                                             Yes                1

 D-Creditors Holding Secured
   Claims
                                             Yes                3                                          $              343,400.61

 E-Creditors Holding
   Unsecured Priority Claims                 Yes                1                                          $                       0.00
   (Total of Claims on Schedule E)

 F-Creditors Holding
   Unsecured Nonpriority Claims
                                             Yes                3                                          $              62,951.55

 G-Executory Contracts and
   Unexpired Leases
                                             Yes                1

 H-Codebtors
                                             Yes                1

 I-Current Income of Individual
   Debtor(s)
                                             Yes                1                                                                          $                5,927.46

 J-Current Expenditures of
   Individual Debtor(s)
                                             Yes                1                                                                          $                5,510.30

                                  TOTAL                       16         $              294,375.69 $                    406,352.16
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                                               UNITED STATES BANKRUPTCY COURT
                                                   DISTRICT OF NEW JERSEY

   In re Robert J. Logan and Janet E. Logan                                                                                      Case No.
                                                                                                                                 Chapter 13



                                                                                                               / Debtor



      STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C § 159)
 If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C. § 101(8), filing a case under
 chapter 7, 11, or 13, you must report all information requested below.


     Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any information here.



 This information is for statistical purposes only under 28 U.S.C. § 159.

 Summarize the following types of liabilities, as reported in the Schedules, and total them.

   Type of Liability                                                                                              Amount
   Domestic Support Obligations (from Schedule E)                                                                 $   0.00
   Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)                                     $   0.00
   Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E) (whether
   disputed or undisputed)                                                                                        $   0.00
   Student Loan Obligations (from Schedule F)                                                                     $   0.00
   Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on                         $   0.00
   Schedule E
   Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)                      $   0.00
                                                                                                     TOTAL        $   0.00

 State the following:


   Average Income (from Schedule I, Line 16)                                                                          $   5,927.46
   Average Expenses (from Schedule J, Line 18)                                                                        $   5,510.30
   Current Monthly Income (from Form 22A Line 12; OR, Form 22B Line 11; OR, Form 22C Line 20)                         $   7,447.11
 State the following:


   1. Total from Schedule D, "UNSECURED PORTION, IF ANY" column                                                                                  $   68,538.45
   2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY" column                                                     $   0.00
   3. Total from Schedule E, "AMOUNT NOT ENTITLED TO PRIORITY, IF ANY" column                                                                    $   0.00
   4. Total from Schedule F                                                                                                                      $   62,951.55
   5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                                                  $   131,490.00
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In re Robert J. Logan and Janet E. Logan                                                                                     Case No.
                               Debtor                                                                                                                             (if known)




                                DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                DECLARATION UNDER PENALTY OF PERJURY BY AN INDIVIDUAL DEBTOR

      I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of           17    sheets, and that they are true and
      correct to the best of my knowledge, information and belief.



      Date:   10/25/2013                                     Signature   /s/ Robert J. Logan
                                                                         Robert J. Logan


      Date:   10/25/2013                                     Signature   /s/ Janet E. Logan
                                                                         Janet E. Logan

                                                                     [If joint case, both spouses must sign.]



     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.




    CERTIFICATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER                                                              (See 11.U.S.C. § 110)

I certify that I am a bankruptcy preparer as defined in 11 U.S.C. § 110, that I prepared this document for compensation, and that I have provided the debtor
with a copy of this document.

Preparer:                                                                                            Social security No. :




Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document:




If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.




X                                                                                                  Date:



A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
imprisonment or both. 11 U.S.C. §110; 18 U.S.C. §156.


     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
                Case
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                                            UNITED STATES BANKRUPTCY COURT
                                                 DISTRICT OF NEW JERSEY


In re: Robert J. Logan                                                                                                Case No.
       aka Robert Joseph Logan, Sr.                                                                                                        (if known)
       and
       Janet E. Logan
       aka Janet Ellen Logan
                                                                                                          ,
                                               Debtor

                                                           STATEMENT OF FINANCIAL AFFAIRS
           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether
or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not diclose the child's name. See, 11
U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

          Questions 1-18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19-25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to
any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.



                                                                           DEFINITIONS
          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within the six years immediately preceding the filing of this bankruptcy case,
any of the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor my also be "in
business" for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement
income from the debtor's primary employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporation debtor
and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. §101(2), (31).




         1. Income from employment or operation of business
 None     State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business, including
          part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this case was
          commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that maintains, or has
          maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates of
          the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must
          state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

AMOUNT                                                   SOURCE

Year to date: $68,375.40                                 2013 YTD Gross Income
   Last Year: $52,949.00                                 2012 Gross Income
Year before: $82,611.00                                  2011 Gross Income


         2. Income other than from employment or operation of business
 None     State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor's business during the two years
          immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse separately. (Married
          debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and
          a joint petition is not filed.)




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       3. Payments to creditors
None   Complete a. or b., as appropriate, and c.

       a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other debts to any
       creditor, made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that constitutes or is
       affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
       obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and creditor counseling agency. (Married debtors
       filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
       separated and a joint petition is not filed.)




None   b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately preceding the
       commencement of this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $6,225*. If the debtor is
       an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
       repayment schedule under a plan by an approved nonprofit budgeting and creditor counseling agency. (Married debtors filingunder chapter 12 or chapter 13
       must include payments and other transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)


       * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.




None   c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors who are or
       were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed,
       unless the spouses are separated and a joint petition is not filed.)




       4. Suits and administrative proceedings, executions, garnishments and attachments
None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this bankruptcy case.
       (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless
       the spouses are separated and a joint petition is not filed.)

CAPTION OF SUIT                             NATURE OF                                     COURT OR AGENCY
AND CASE NUMBER                             PROCEEDING                                      AND LOCATION                                 STATUS OR DISPOSITION

The Bank of New                             Foreclosure                                   Superior Court of                              Judgment entered
York Mellon Truste                                                                        New Jersey,
Co. v. Robert J.                                                                          Chancery Division,
Logan, Dkt. #F-                                                                           Gloucester County,
1612-10                                                                                   Woodbury, NJ


Nationstar                                  Foreclosure                                   Superior Court of                              Judgment entered
Mortgage, LLC v.                                                                          New Jersey,
Robert J. Logan and                                                                       Chancery Division,
Janet E. Logan,                                                                           Gloucester County,
Dkt. #F-015668-13                                                                         Woodbury, NJ


None   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses
       whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




       5. Repossessions, foreclosures and returns
None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to the seller,
       within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
       concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


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       6. Assignments and receiverships
None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case. (Married
       debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed, unless the
       spouses are separated and a joint petition is not filed.)




None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses
       whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




       7. Gifts
None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual gifts to
       family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100 per recipient.
       (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed,
       unless the spouses are separated and a joint petition is not filed.)




       8. Losses
None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)




       9. Payments related to debt counseling or bankruptcy
None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
       consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement of
        this case.

                                                       DATE OF PAYMENT,                   AMOUNT OF MONEY OR
NAME AND ADDRESS OF PAYEE                              NAME OF PAYER IF OTHER THAN DEBTOR DESCRIPTION AND VALUE OF PROPERTY

Payee: Cricket Debt                                    Date of Payment: 10/20/2013                                  $36.00
Counseing                                              Payor: Robert J. Logan
10121 SE Sunnyside Road
Suite 300
Clackamas, OR 97015


       10. Other transfers
None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either absolutely
       or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
       transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar device
       of which the debtor is a benificiary.




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       11. Closed financial accounts
None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise transferred
       within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts, certificates of deposit, or
       other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
       institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or instruments held by or for either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




       12. Safe deposit boxes
None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately preceding
       the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether
       or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




       13. Setoffs
None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this case.
       (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless
       the spouses are separated and a joint petition is not filed.)




       14. Property held for another person
None   List all property owned by another person that the debtor holds or controls.




       15. Prior address of debtor
None   If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during that
       period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.




       16. Spouses and Former Spouses
None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada,
       New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case, identify the name of
       the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.




       17. Environmental Information
None   For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
       wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating the
       cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
       debtor,
       including, but not limited to disposal sites.

       "Hazardous Material" means anything defined as hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant or
       similar termunder an Environmental Law:

       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or potentially liable
       under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the Environmental Law:




                                                                                                                   Statement of Affairs - Page 4
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 None    b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate the
         governmental unit to which the notice was sent and the date of the notice.




 None    c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law, with respect to which the debtor is or was a
         party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.




         18. Nature, location and name of business
 None    a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending dates of all
         businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole proprietor, or was
         self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
         which the debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding the commencement of this case

                  If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of
         all businesses     in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately preceding the
         commencment of this case.

                  If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of
         all businesses     in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately preceding the
         commencment of this case.


                                       LAST FOUR DIGITS OF                                                                                             BEGINNING AND
NAME                                   SOCIAL-SECURITY OR                      ADDRESS                                 NATURE OF BUSINESS              ENDING DATES
                                       OTHER INDIVIDUAL
                                       TAXPAYER-I.D. NO.
                                       (ITIN)/ COMPLETE EIN


Robert J. Logan                        ID: 7254                                414-418 Ellis                           Rental property                 12/2003 to
                                                                               Street                                                                  10/2012
                                                                               Glassboro, NJ
                                                                               08028


 None    b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.




            The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or
has been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

             (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)




         19. Books, records and financial statements
 None    a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or supervised the keeping of
         books of account and records of the debtor.

NAME AND ADDRESS                                                                                                                              DATES SERVICES RENDERED


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NAME AND ADDRESS                                                                                                                       DATES SERVICES RENDERED

Name: John J. Fitzpatrick, CPA                                                                                                         Dates: 1/2008
Premier Accounting Services, PC                                                                                                         to present
PO Box 89
Pitman, NJ 08071


None   b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy case have audited the books of account and records,
       or prepared a financial statement of the debtor.




None   c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the debtor. If
       any of the books of account and records are not available, explain.




None   d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was issued by the debtor
       within two years immediately preceding the commencement of this case.




       20. Inventories
None   a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the dollar
       amount and basis of each inventory.




None   b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.




       21. Current Partners, Officers, Directors and Shareholders
None   a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.




None   b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls, or holds 5
       percent or more of the voting or equity securities of the corporation.




       22. Former partners, officers, directors and shareholders
None   a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the commencement of this case.




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None     b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately preceding the
         commencement of this case.




         23. Withdrawals from a partnership or distribution by a corporation
None     If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form, bonuses,
         loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of this case.




         24. Tax Consolidation Group.
None     If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any consolidated group for tax purposes
         of which the debtor has been a member at any time within six years immediately preceeding the commencement of the case.




         25. Pension Funds.
None     If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an employer, has been
         responsible for contributing at any time within six years immediately preceding the commencement of the case.




[If completed by an individual or individual and spouse]


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto and that
they are true and correct.



       Date   10/25/2013                         Signature      /s/ Robert J. Logan
                                                 of Debtor


                                                 Signature      /s/ Janet E. Logan
       Date   10/25/2013
                                                 of Joint Debtor
                                                 (if any)




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                                            UNITED STATES BANKRUPTCY COURT
                                                 DISTRICT OF NEW JERSEY

In re Robert J. Logan                                                                                               Case No.
      aka Robert Joseph Logan, Sr.                                                                                  Chapter 13
        and
      Janet E. Logan
      aka Janet Ellen Logan




                  DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.   Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-
     named debtor(s) and that compensation paid to me within one year before the filing of the petition in
     bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in
     contemplation of or in connection with the bankruptcy case is as follows:
     For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                     1,750.00
     Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . . $                          0.00
     Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $       1,750.00

2.   The source of the compensation paid to me was:
        Debtor            Other (specify)


3.   The source of compensation to be paid to me is:
          Debtor                     Other (specify)


4.        I have not agreed to share the above-disclosed compensation with any other person unless they are
          members and associates of my law firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or
          associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in
          the compensation, is attached.


5.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case,
     including:

     a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining whether to file a
     petition in bankruptcy;

     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearing
     thereof;

     d. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

     e. [Other provisions as needed].
          None
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                                                            for Debtor (12/94)


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following services:
        None




                                                         CERTIFICATION
        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
     representation of the debtor(s) in this bankruptcy proceeding.




      10/25/2013                                             /s/ Richard S. Hoffman, Jr.
      Date                                                   Signature of Attorney


                                                             Hoffman DiMuzio
                                                             Name of Law Firm
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                                  UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF NEW JERSEY



In re Robert J. Logan                                                                     Case No.
      aka Robert Joseph Logan, Sr.                                                        Chapter 13
      and
      Janet E. Logan
      aka Janet Ellen Logan
                                                                            / Debtor
    Attorney for Debtor:   Richard S. Hoffman, Jr.



                                       VERIFICATION OF CREDITOR MATRIX


                  The above named Debtor(s) hereby verify that the attached list of creditors is true and correct to the

   best of our knowledge.




Date: 10/25/2013                                                   /s/ Robert J. Logan
                                                                   Debtor

                                                                   /s/ Janet E. Logan
                                                                   Joint Debtor
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                    Blaze Credit Card
                    500 E. 60th Street North
                    Sioux Falls, SD 57104

                    Bryant State Bank
                    500 E. 60th St
                    Sioux Falls, SD 57104

                    Bryant State Bank
                    500 E 60th St N
                    Sioux Falls, SD 57104

                    Capital One
                    PO Box 30285
                    Salt Lake City, UT    84130-0285

                    Capital One Bank (USA), N.A.
                    PO Box 30281
                    Salt Lake City, UT 84130

                    Charter One Bank / GLELSI
                    PO Boix 7860
                    Madison, WI 53707

                    Credit One Bank
                    PO Box 98873
                    Las Vegas, NV 89183

                    First National Credit Card
                    PO Box 2496
                    Omaha, NE 68103

                    First Premier Bank
                    PO Box 5524
                    Sioux Falls, SD 57117-5524

                    GECRB/Care Credit Card
                    Attn: Bankruptcy Department
                    PO Box 103106
                    Roswell, GA 30076

                    GMAC Mortgage
                    1100 Virginia Drive
                    Ft. Washington , IAPA    19034

                    Milstead & Associates, LLC
                    Woodland Falls Corporate Park
                    220 lake Drive East, Suite 301
                    Cherry Hill, NJ 08002
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                    Nationstar Mortgage, LLC
                    350 Highland Drive
                    Lewisville, TX 75067

                    Ocwen Loan Servicing, LLC
                    3451 Hammond Avenue
                    Waterloo, IA 50702-5345

                    Show Card Credit Card
                    Attn: Bryant State Bank
                    124 W. Main Avenue
                    Bryant, SD 57221

                    TD Bank
                    PO Box 219
                    Lewiston, ME    04243

                    US Dept of Edcation / GLE
                    2401 International
                    PO Box 7859
                    Madison, WI 53704

                    Volkswagen Credit
                    PO Box 5215
                    Carol Stream, IL 60197-5215

                    Zucker Goldberg & Ackerman
                    PO Box 1024
                    Mountainside, NJ 07092-0024
